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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 IHTESHAM ANSARI,

 Plaintiff,

 v.                                                   Case No. 1:18-cv-04521

 NATIONWIDE CREDIT &
 COLLECTION INC.,

 Defendant.

                                          COMPLAINT

        NOW COMES Plaintiff, IHTESHAM ANSARI, by and through his attorneys,

SULAIMAN LAW GROUP, LTD., complaining of Defendant, NATIONWIDE CREDIT &

COLLECTION INC., as follows:

                                  NATURE OF THE ACTION

        1.     This is an action brought by a consumer seeking redress for violation(s) of the

automatic stay, 11 U.S.C. § 362; the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(“FDCPA”) and the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)

                                 JURISDICTION AND VENUE

        1.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 with respect

to Plaintiff’s automatic stay violation claims.

        2.     This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331 with respect to Plaintiff’s FDCPA claims.

        3.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 with respect

to Plaintiff’s TCPA claims.


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        4.        Venue is proper as a substantial part of the events or omissions giving rise to the

claim(s) occurred in this judicial district. 28 U.S.C. § 1391(b)(2).

                                               PARTIES

        5.        IHTESHAM ANSARI (“Plaintiff”) is a natural person, over 18-years-of-age, who

at all times relevant resided in this judicial district.

        6.        Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        7.        Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

        8.        NATIONWIDE CREDIT & COLLECTION INC. (“Defendant”) is a domestic

corporation with its principal place of business in Oak Brook, Illinois.

        9.        Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

        10.       Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as it uses

instrumentalities of interstate commerce and the mail in its business.

        11.       Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as the principal

purpose of Defendant’s business is the collection of debt.

        12.       Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as it regularly

collects or attempts to collect debts owed or due or asserted to be owed or due another.

        13.       Defendant is a “person” as defined by 47 U.S.C. § 153(39).

                                    FACTUAL ALLEGATIONS

        14.       From February 13, 2016 to November 8, 2016, Defendant incurred multiple

balances with DuPage Medical Group.

        15.       From November 7, 2016 to May 1, 2017, these debts were referred to Defendant

for collection.



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        16.     During this same period, Defendant maintained a steadfast telephone harassment

campaign against Plaintiff in an attempt to collect on behalf of Dupage Medical Group.

        17.     In mid-May, 2017, Plaintiff answered, and was received by silence then audible

clicking, before he was connected to a live representative.

        18.     Specifically, Plaintiff experienced clear pause from when she said “hello,” to when

a live representative introduced them self before Plaintiff demanded that they stop calling.

        19.     Despite Plaintiff’s demand that they stop calling, Defendant continued to call

Plaintiff’s cellular telephone.

        20.     Indeed, Defendant placed (or caused to be placed) no less than 20 unconsented-to

calls to Plaintiff despite Plaintiff’s demand that they stop calling.

        21.     On August 31, 2017, Plaintiff initiated a bankruptcy case in the Northern District

of Illinois by filing a voluntary petition for relief under Chapter 13 of the Bankruptcy Code.

        22.     The schedules filed by Plaintiff listed Defendant on Schedule F: Creditors Who

Have Unsecured Claims.

        23.     A true and correct representation of Plaintiff’s Schedule F is shown below:




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       24.    Notice of Plaintiff’s bankruptcy case was sent to Defendant at 815 Commerce

Drive, Suite 270, Oak Brook, Illinois 60523 by first class mail on September 3, 2017.




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       25.     A true and correct representation of the Certificate of Notice is shown below:




       26.     Despite Plaintiff’s bankruptcy case filing, Defendant continued to call Plaintiff’s

cellular telephone.

       27.     Indeed, Defendant placed (or caused to be placed) no less than 7 unconsented-to

calls to Plaintiff despite Plaintiff’s bankruptcy case filing including, but not limited to on:

               November 2, 2017                          December 11, 2017
               November 14, 2017                         December 18, 2017
               November 14, 2017                         December 18, 2017
               November 28, 2017




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         28.      Upon information and belief, Defendant placed or caused to be placed the

aforementioned calls to Plaintiff’s cellular telephone using a predictive dialer1.

         29.      At all times relevant, Plaintiff was the sole operator, possessor, and subscriber of

the number ending in 3378.

         30.      At all times relevant, Plaintiff’s number ending in 3378 was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

         31.      At all times relevant, Plaintiff was financially responsible for his cellular telephone

equipment and services.

                                                   DAMAGES

         32.      Defendant’s collection calls have severely disrupted Plaintiff’s everyday life and

overall well-being.

         33.      Defendant’s collection calls have resulted in aggravation, confusion, and

frustration, as Plaintiff was led to believe that filing bankruptcy had no legal effect.

         34.      Defendant’s telephone harassment campaign and illegal collection activities have

caused Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion

upon and occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, the

increased risk of personal injury resulting from the distraction caused by the phone calls, decreased

work productivity, aggravation that accompanies unsolicited telephone calls, emotional distress,

mental anguish, anxiety, loss of concentration, diminished value and utility of telephone equipment

and telephone subscription services, the loss of battery charge, and the per-kilowatt electricity



1
  A predictive dialer is an outbound calling system that automatically dials from a list of telephone numbers. Like
other types of autodialers (also called robodialers), predictive dialers call numbers automatically and can help agents
screen for busy signals, voicemails, no-answers and disconnected numbers.

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costs required to recharge their cellular telephone as a result of increased usage of his telephone

services.

                                     CLAIMS FOR RELIEF

                                            Count I:
                                 Automatic Stay (11 U.S.C. § 362)

       35.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       36.     The principal purpose of the United States Bankruptcy Code is to grant a “fresh

start” to the “honest but unfortunate debtor.”

       37.     The automatic stay enjoins a creditor from acting to collect, assess or recover claims

against a debtor that arose prepetition.

       38.     Defendant took action to collect or recover against Plaintiff by placing no less than

7 collection calls to Plaintiff despite being enjoined by the automatic stay.

       39.     A violation of the automatic stay is “willful” when a creditor with knowledge that

a bankruptcy case has been filed commits an intentional act that violates the automatic stay.

       40.     There is no question that when Defendant took action to collect or recover against

Plaintiff they did so with actual notice of Plaintiff’s bankruptcy case filing.

       WHEREFORE, Plaintiff requests the following relief:

       A.      find that Defendant violated 11 U.S.C. § 362(a)(6);

       B.      award any actual damages, as the Court may allow pursuant to 11 U.S.C. §

               362(k)(1);

       C.      award any punitive damages, as the Court may allow pursuant to 11 U.S.C. §

               362(a)(

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       D.      award costs and attorneys’ fees as the Court may allow pursuant to 11 U.S.C. §

               362(a)(; and

       E.      award such other relief as this Court deems just and proper.

                                           Count II
                  Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)

       41.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       42.     Upon information and belief, the medical accounts sought by Defendant is a “debt”

as defined by 15 U.S.C. § 1692a(5).

       43.     Upon information and belief, Defendant is attempting to collect a debt used for

“family, household, or personal purpose” as defined by 15 U.S.C. § 1692a(5).

                           Violation(s) of 15 U.S.C. §§ 1692d, and d(5)

       44.     Section 1692d prohibits a debt collector from engaging in conduct the natural

consequence of which is to harass, oppress, or abuse in connection with the collection of a debt.

       45.     Section 1692d(5) prohibits a debt collector from causing a telephone to ring

continuously with the intent to annoy, abuse, or harass.

       46.     Defendant violated 15 U.S.C. § 1692d by placing or causing to be placed no less

than 20 collection calls to Plaintiff despite Plaintiff’s demand that they stop.

       47.     Defendant violated 15 U.S.C. §1692d(5) by placing or causing to be placed no less

than 20 collection calls to Plaintiff despite Plaintiff’s demand that they stop.

       48.     Defendant’s behavior of repeatedly placing or causing to be placed collection calls

to Plaintiff was abusive, harassing, and oppressive.




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       49.     Plaintiff may enforce the provisions of 15 U.S.C. §§1692d, and d(5) pursuant to

section k of the Fair Debt Collection Practices Act (15 U.S.C. § 1692k) which provides "any debt

collector who fails to comply with any provision of [the Fair Debt Collection Practices Act] with

respect to any person is liable to such person in an amount equal to the sum of -

       (1)     any actual damage sustained by such person as a result of such failure;

       (2)

               (A)     in the case of any action by an individual, such additional damages
                       as the court may allow, but not exceeding $1,000.00; or

       (3)     in the case of any successful action to enforce the foregoing liability, the
               costs of the action, together with reasonable attorney's fees as determined
               by the court.

       WHEREFORE, Plaintiff requests the following relief:

       A.      find that Defendant violated 15 U.S.C. §§ 1692d and d(5);

       B.      award any actual damage sustained by Plaintiff as a result of Defendant’s violation

               pursuant to 15 U.S.C. § 1692k(a)(1);

       C.      award such additional damages, as the Court may allow, but not exceeding $1,000

               pursuant to 15 U.S.C. § 1692k(a)(2)(A);

       D.      award costs of this action including expenses together with reasonable attorneys’

               fees as determined by this Court pursuant to 15 U.S.C. § 1692k(a)(3); and

       E.      award such other relief as this Court deems just and proper.

                                      COUNT III:
                 Telephone Consumer Protection Act (47 U.S.C. § 227 et seq.)

       50.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.



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        51.     Defendant placed or caused to be placed non-emergency calls, including but not

limited to the aforementioned calls, to Plaintiff’s cellular telephone number ending in 3378

utilizing an automatic telephone dialing system (“ATDS”) without Plaintiff’s consent in violation

of 47 U.S.C. §227 (b)(1)(A)(iii).

        52.     In a 2003 declaratory ruling the Federal Communications Commission (“FCC”)

concluded that equipment which has the capacity to “store or produce numbers and dial those

numbers at random, in sequential order, from a database of numbers” qualifies as an ATDS under

the statute. 18 F.C.C.R. 14014, 14091-93 (2003).

        53.     In 2012, the FCC stated that a predictive dialer included “any equipment that has

the specified capacity to generate numbers and dial them without human intervention regardless

of whether the numbers called are randomly or sequentially generated or come from calling lists.”

27 F.C.C.R. at 15392 n. 5 (2012).

        54.     In its Order, the FCC “reiterate[d] that predictive dialers, as previously described

by the commission, satisfy the TCPA’s definition of an ‘autodialer.’” Id.

        55.     Upon information and belief, based on the lack of prompt human response,

Defendant employed a predictive dialer to place calls to Plaintiff’s cellular telephone.

        56.     Upon information and belief, the predictive dialer employed by Defendant transfers

the call to a live representative once a human voice is detected, hence the clear pause.

        57.     As a result of Defendant’s violations of 47 U.S.C. §227 (b)(1)(A)(iii). Plaintiff is

entitled to receive $500.00 in damages for each violation.

        58.     As a result of Defendant’s knowing and willful violations of 47 U.S.C. §227

(b)(1)(A)(iii), Plaintiffs are entitled to receive up to $1,500.00 in treble damages for each violation.



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       WHEREFORE, Plaintiff requests the following relief:

       A.       find that Defendant violated 47 U.S.C. §227 (b)(1)(A)(iii);

       B.       enjoin Defendant from placing calls to Plaintiff pursuant to 47 U.S.C. § 227(3)(A);

       C.       award statutory damages of $500.00 for each such violation pursuant to 47 U.S.C.

                § 227(3)(B);

       D.       award treble damages up to $1,500.00, for each such violation pursuant to 47 U.S.C.

                § 227(3)(C); and

       E.       award such other relief as this Court deems just and proper.

Plaintiff demands trial by jury.

June 29, 2018                                                Respectfully submitted,

                                                             /s/ Joseph Scott Davidson

                                                             Joseph Scott Davidson
                                                             Mohammed Omar Badwan
                                                             SULAIMAN LAW GROUP, LTD.
                                                             2500 South Highland Avenue
                                                             Suite 200
                                                             Lombard, Illinois 60148
                                                             +1 630-575-8181
                                                             jdavidson@sulaimanlaw.com
                                                             mbadwan@sulaimanlaw.com

                                                             Counsel for Ihtesham Ansari




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